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    EXHIBIT A
                                                                      Confidential
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      SETTLEMENT AGREEMENT AND GENERAL RELEASE




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